                      Case 1-18-40321-nhl                            Doc 33   Filed 03/06/18      Entered 03/06/18 15:58:31
                                                                                                                                                      3/06/18 3:55PM


 Fill in this information to identify the case:

 Debtor name         E & J MACON LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)         1-18-40321
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                      $0.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     JPMorgan Chase Bank, N.A.                                 Checking                      5112                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                           $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         E & J MACON LLC                                                              Case number (If known) 1-18-40321
                Name


        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         E & J MACON LLC                                                              Case number (If known) 1-18-40321
                Name

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Ervin Johnson v. E & J Macon LLC, John Clarke, and
           Twuana Janvier                                                                                                             Unknown
           Nature of claim        Fraud, conversion
           Amount requested                   $5,351,000.00



           Ervin Johnson v. MPW Funding LLC (523210/2017)                                                                             Unknown
           Nature of claim       Fraud, unjust enrichment,
                                 rescission of deed (for 346 East
                                 9th St, Brooklyn, NY)
           Amount requested                  $1,500,000.00



           E & J Macon LLC v. Quick                                                                                                   Unknown
           Nature of claim       Eviction
           Amount requested                                               $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                             $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 3
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 Debtor          E & J MACON LLC                                                                                     Case number (If known) 1-18-40321
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                         $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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In re   E & J MACON LLC                                                            Case No.   1-18-40321
                                                          Debtor(s)



                                         SCHEDULE A/B - PROPERTY
                                                    Attachment A



                                 Addendum - Schedule 206A/B, Part 11, Question 74



   1. The claims identified for the pending action Johnson v. E & J Macon LLC et al is estimated damages, based upon
      (1) 60% of the value of the premises at 401 Macon Street, Brooklyn, New York, 1596 Pacific Street, Brooklyn,
      New York and 1049 Bergen Street, Brooklyn, New York (collectively, the "Premises") (i.e. 60% of $8,400,000, or
      $5,040,000) and (2) the figure of $311,000.00 which is the estimated sum of funds converted from E & J Macon,
      LLC by John Clarke when he acted (through Seaview Management) as property manager for the Premises. John
      Clarke recorded a fraudulent, forged, operating agreement for E & J Macon LLC in the City Register's Office,
      which indicated that he is the 60% owner of that LLC. The Premises were transferred by the Debtor into related
      entities in June of 2017 as a protective measure against sale or encumbrance of the Premises by Clarke, but are
      being treated as owned by E & J Macon LLC for purposes of valuing the lawsuit. The scheduled "amount
      requested" is only an estimate and is not intended as a floor, cap, or limit of any nature on Debtor's recovery in
      connection with this litigation.

   2. The claim identified for the pending action Johnson v. MPW Funding LLC is an estimate based upon the
      estimated value of the premises at 346 East 9th Street, Brooklyn, New York ($1,500,000.00). The action is to
      recover debtor's fee ownership in the premises. The scheduled "amount requested" is only an estimate and is
      not intended as a floor, cap, or limit of any nature on Debtor's recovery in connection with this litigation.
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 Fill in this information to identify the case:

 Debtor name         E & J MACON LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)         1-18-40321
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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In re   E & J MACON LLC                                                           Case No.   1-18-40321
                                                          Debtor(s)



           SCHEDULE D - CREDITORS WHO HAVE CLAIMS SECURED BY PROPERTY
                                                   Attachment A



                                       Addendum - Schedule 206D, Question 1



   1. Macon Funding Associates has filed a secured claim against the premises at 401 Macon Street, Brooklyn, New
      York, 1596 Pacific Street, Brooklyn, New York and 1049 Bergen Street, Brooklyn, New York (collectively, the
      "Premises"). The Premises were transferred from the Debtor to 401 Macon Realty LLC, 1049 Bergen Street
      Realty LLC, and 1596 Pacific Realty LLC, co-debtors whose petitions are being jointly administered with this case
      (the "Co-Debtors") on or about June 26, 2017. For purposes of scheduling the respective assets and liabilities of
      the Debtor and the Co-Debtors, we are treating the Premises as no longer owned by the Debtor, and have
      therefore scheduled Macon Funding Associates and all other mortgagees and other secured creditors as general
      unsecured creditors on this Debtor's schedules. They are identified as secured creditors on the Co-Debtors'
      schedules.
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 Fill in this information to identify the case:

 Debtor name         E & J MACON LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)           1-18-40321
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $210,861.02
           A.P.R.A. Fuel Oil Buyer's                                             Contingent
           Group                                                                 Unliquidated
           1579 Bushwick Avenue
                                                                                 Disputed
           Brooklyn, NY 11207
           Date(s) debt was incurred 4/27/15
                                                                              Basis for the claim:    goods delivered - PAID OFF
           Last 4 digits of account number                                    Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $227,891.50
           A.P.R.A. Fuel Oil Buyer's                                             Contingent
           Group Inc.                                                            Unliquidated
           1579 Bushwick Avenue
                                                                                 Disputed
           Brooklyn, NY 11207
           Date(s) debt was incurred 9/28/16
                                                                              Basis for the claim:    goods delivered - PAID OFF
           Last 4 digits of account number                                    Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Elena Arqoz and Justin                                                Contingent
           Townsend
                                                                                 Unliquidated
           Date(s) debt was incurred N/A
                                                                                 Disputed
           Last 4 digits of account number
                                                                              Basis for the claim:    Slip and fall personal injury lawsuit
                                                                              Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $97,935.00
           Highrise Maintenance Corp                                             Contingent
           32 Rogers Avenue                                                      Unliquidated
           Brooklyn, NY 11216
                                                                                 Disputed
           Date(s) debt was incurred 10/18/17
                                                                              Basis for the claim:    goods delivered, services performed
           Last 4 digits of account number
                                                                              Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 2
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 Debtor       E & J MACON LLC                                                                          Case number (if known)            1-18-40321
              Name

 3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,000.00
           Internal Revenue Service                                              Contingent
           P.O. Box 7346                                                         Unliquidated
           Philadelphia, PA 19101
                                                                                 Disputed
           Date(s) debt was incurred Year ending 12/31/16
           and year ending 12/31/17                                           Basis for the claim:    2016 & 2017 Partnership Tax
           Last 4 digits of account number                                    Is the claim subject to offset?         No     Yes

 3.6       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,136,954.96
           Macon Funding Associates
           c/o Green Assets, Inc.                                                Contingent
           875 Mamaroneck Ave.                                                   Unliquidated
           Suite 401                                                             Disputed
           Mamaroneck, NY 10543
                                                                              Basis for the claim:    Money loaned
           Date(s) debt was incurred 09/29/2016
           Last 4 digits of account number                                    Is the claim subject to offset?         No     Yes


 3.7       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $576,334.86
           Mark J. Nussbaum, as Nom.                                             Contingent
           225 Broadway, 39th Floor                                              Unliquidated
           New York, NY 10007                                                    Disputed
           Date(s) debt was incurred 05/03/17
                                                                              Basis for the claim:    Money loaned
           Last 4 digits of account number
                                                                              Is the claim subject to offset?         No     Yes

 3.8       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 Unknown
           N.J.R., an infant by his                                              Contingent
           mother and natural
                                                                                 Unliquidated
           guardian, Natalia Rollins
           and Natalia Rollins indiv                                             Disputed

           Date(s) debt was incurred N/A                                      Basis for the claim:    Lead-poisoning personal injury lawsuit
           Last 4 digits of account number                                    Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                    On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                       related creditor (if any) listed?               account number, if
                                                                                                                                                       any
 4.1       Daniel Sully, Esq.
           Law Office of Daniel Sull                                                                   Line     3.1
           241 86th Street
                                                                                                              Not listed. Explain
           Brooklyn, NY 11209


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                           Total of claim amounts
 5a. Total claims from Part 1                                                                             5a.          $                          0.00
 5b. Total claims from Part 2                                                                             5b.    +     $                  5,251,977.34

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                  5c.          $                      5,251,977.34




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         E & J MACON LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)         1-18-40321
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Buyback Contract
             lease is for and the nature of               dated 12/15/16
             the debtor's interest                        regarding 346 East 9th
                                                          St., Brooklyn, NY 11218
                  State the term remaining                Contested, see
                                                          litigation listed in        MPW Funding LLC
                                                          Schedule A/B Part 11        360 Madison Avenue
             List the contract number of any                                          Suite 1902
                   government contract                                                New York, NY 10017


 2.2.        State what the contract or                   Property Management
             lease is for and the nature of               Agreement, Property
             the debtor's interest                        owner

                  State the term remaining                Expires 1/1/19
                                                                                      USA Quick Solutions Corp
             List the contract number of any                                          357 East Fulton Street
                   government contract                                                Long Beach, NY 11561




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         E & J MACON LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)         1-18-40321
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                     Name                          Check all schedules
                                                                                                                                 that apply:

    2.1      1049 Bergen                       878 East 28th Street                                Macon Funding                    D
             Realty LLC                        Brooklyn, NY 11210                                  Associates                       E/F       3.6
                                                                                                                                    G




    2.2      1049 Bergen                       878 East 28th Street                                USA Quick Solutions              D
             Realty LLC                        Brooklyn, NY 11210                                  Corp                             E/F
                                                                                                                                    G




    2.3      1049 Bergen                       878 East 28th Street                                Mark J. Nussbaum,                D
             Realty LLC                        Brooklyn, NY 11210                                  as Nom.                          E/F       3.7
                                                                                                                                    G




    2.4      1049 Bergen                       878 East 28th Street                                A.P.R.A. Fuel Oil                D
             Realty LLC                        Brooklyn, NY 11210                                  Buyer's                          E/F       3.2
                                                                                                                                    G




    2.5      1596 Pacific                      878 East 28th Street                                Macon Funding                    D
             Realty LLC                        Brooklyn, NY 11210                                  Associates                       E/F
                                                                                                                                    G




Official Form 206H                                                             Schedule H: Your Codebtors                                     Page 1 of 3
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 Debtor       E & J MACON LLC                                                                  Case number (if known)   1-18-40321


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      1596 Pacific                      878 East 28th Street                                 USA Quick Solutions              D
             Realty LLC                        Brooklyn, NY 11210                                   Corp                             E/F
                                                                                                                                     G




    2.7      1596 Pacific                      878 East 28th Street                                 Mark J. Nussbaum,                D
             Realty LLC                        Brooklyn, NY 11210                                   as Nom.                          E/F       3.7
                                                                                                                                     G




    2.8      1596 Pacific                      878 East 28th Street                                 A.P.R.A. Fuel Oil                D
             Realty LLC                        Brooklyn, NY 11210                                   Buyer's                          E/F       3.2
                                                                                                                                     G




    2.9      401 Macon                         878 East 28th Street                                 Macon Funding                    D
             Realty LLC                        Brooklyn, NY 11210                                   Associates                       E/F       3.6
                                                                                                                                     G




    2.10     401 Macon                         878 East 28th Street                                 USA Quick Solutions              D
             Realty LLC                        Brooklyn, NY 11210                                   Corp                             E/F
                                                                                                                                     G




    2.11     401 Macon                         878 East 28th Street                                 Mark J. Nussbaum,                D
             Realty LLC                        Brooklyn, NY 11210                                   as Nom.                          E/F       3.7
                                                                                                                                     G




    2.12     401 Macon                         878 East 28th Street                                 A.P.R.A. Fuel Oil                D
             Realty LLC                        Brooklyn, NY 11210                                   Buyer's                          E/F       3.2
                                                                                                                                     G




    2.13     401 Macon                         878 East 28th Street                                 Highrise Maintenance             D
             Realty LLC                        Brooklyn, NY 11210                                   Corp                             E/F       3.4
                                                                                                                                     G




Official Form 206H                                                             Schedule H: Your Codebtors                                      Page 2 of 3
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 Debtor       E & J MACON LLC                                                                  Case number (if known)   1-18-40321


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.14     1049 Bergen                       878 East 28th Street                                 USA Quick Solutions              D
             Realty LLC                        Brooklyn, NY 11210                                   Corp                             E/F
                                                                                                                                     G   2.2




    2.15     1596 Pacific                      878 East 28th Street                                 USA Quick Solutions              D
             Realty LLC                        Brooklyn, NY 11210                                   Corp                             E/F
                                                                                                                                     G   2.2




    2.16     401 Macon                         878 East 28th Street                                 USA Quick Solutions              D
             Realty LLC                        Brooklyn, NY 11210                                   Corp                             E/F
                                                                                                                                     G   2.2




Official Form 206H                                                             Schedule H: Your Codebtors                                   Page 3 of 3
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                      Case 1-18-40321-nhl                            Doc 33     Filed 03/06/18      Entered 03/06/18 15:58:31
                                                                                                                                             3/06/18 3:55PM




                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      E & J MACON LLC                                                                                    Case No.   1-18-40321
                                                                                     Debtor(s)                 Chapter    11

                                                       AFFIDAVIT PURSUANT TO LOCAL RULE 1007-1(B)

               E & J MACON LLC                , undersigned debtor herein, swears as follows:

1.          Debtor filed a petition under chapter                      11     of the Bankruptcy Code on    January 19, 2018   .

2.          Schedule(s) A/B, D, E/F. G, and H, and the Statement of Financial Affairs were not filed at the time of filing of the
            said petition, and is/are being filed herewith.

3.          [Check applicable box]:

                        The schedules filed herewith reflect no additions or corrections to, or deletions from, the list of creditors
                        which accompanied the petition.

                        Annexed hereto is a listing of names and addresses of scheduled creditors added to or deleted from the list
                        of creditors which accompanied the petition. Also listed, as applicable, are any scheduled creditors whose
                        previously listed names and/or addresses have been corrected. The nature of the change (addition,
                        deletion or correction) is indicated for each creditor listed.

4.          [If creditors have been added] An amended mailing matrix is annexed hereto, listing added creditors ONLY, in
            the format prescribed by Local Rule 1007-3.

Reminder: No amendment of schedules is effective until proof of service in accordance with EDNY LBR 1009-1(b) has
been filed with the Court.

Any additions to the list of creditors which accompanied the petition will be deemed an amendment to that list; if this
amendment is filed prior to the expiration of the time period set forth in Fed. R. Bankr. P. 4004 and 4007, it will be
deemed to constitute a motion for a 30-day extension of the time within which any added creditors may file a complaint to
object to the discharge of the debtor and/or to determine dischargeability. This motion will be deemed granted without a
hearing if no objection is filed with the Court and served on debtor within 10 days following filing of proof of service of
this affirmation, all attachments and the amended schedules in accordance with EDNY LRB 1009-1.

 Dated:           March 6, 2018

                                                                                      /s/ Ervin Johnson, Jr.
                                                                                      Ervin Johnson, Jr.
                                                                                      Debtor (signature)

 Sworn to before me this                    6th
 day of    March                                            , 2018

  Samuel Lowinger, No. 02LO6338656
 Notary Public, State of New York




Aff1007-1b.64                                                                                                                             Rev. 09/22/08

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